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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §   Criminal No. 3:23-CR-102-L
                                                §
JUAN CARLOS FERRER                              §

                           MEMORANDUM OPINION AND ORDER

          Before the court is Defendant Juan Carlos Ferrer’s (“Defendant” or “Mr. Ferrer”) Motion

to Dismiss Indictment (“Motion”) (Doc. 22), filed on February 18, 2025. Defendant seeks

dismissal of Count One of the Indictment, which charges him with possession of a firearm by a

convicted felon in violation of 18 U.S.C. § 922(g)(1). Defendant contends that: (1) § 922(g)(1)

exceeds Congress’s Commerce Clause power and (2) § 922(g)(1) is unconstitutional on its face

and as applied to him. The Government opposes the Motion. After careful review of the Motion,

Government’s response, and applicable law, the court denies Defendant’s Motion for the reasons

herein explained.

     I.      Background

          On March 21, 2023, the Government filed a one-count Indictment (Doc. 1) against Mr.

Ferrer that charged him with knowing that he had been convicted of a crime punishable by

imprisonment for a term exceeding one year, that is, a felony offense, while knowingly possessing

a firearm in and affecting interstate and foreign commerce in violation of 18 U.S.C. §§ 922(g)(1)

and 924(a)(8).

          In November 2011, Defendant pleaded guilty to violating 21 U.S.C. § 846, 21 U.S.C. §§

814(a)(1), and (b)(1)(B). United States v. Ferrer, No. 4:11-CR-096, Doc. No. 459 at 1 (N.D.

Tex.). Mr. Ferrer and others planned to steal cocaine and money from individuals who had been



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selling cocaine to his Co-defendants. Id. at 3. On April 21, 2011, Defendant and Co-defendants

entered a warehouse and robbed, at gunpoint, two individuals of cocaine and money. Id.

Additionally, Mr. Ferrer and his Co-defendants were responsible for several other robberies in

which they stole more than $2,000,000. Ferrer, No. 4:11-CR-096, Doc. No. 958-1 at 32.

   II.      Legal Standard

         Federal Rule of Criminal Procedure 12 allows parties to “raise by pretrial motion any

defense, objection, or request that the court can determine without a trial on the merits.” Fed. R.

Crim. P. 12(b)(1). A court may grant a motion to dismiss an indictment if the defect is essentially

a question of law. United States v. Banks, 339 F.3d 267, 269 (5th Cir. 2003). Motions to dismiss

that test the interpretation of a statute are such questions of law that are proper for the court to

review. United States v. Fontenot, 665 F.3d 640, 644 (5th Cir. 2011) (“The propriety of granting a

motion to dismiss an indictment . . . by pretrial motion is by-and-large contingent upon whether

the infirmity in the prosecution is essentially one of law or involves determinations of fact . . . . If

a question of law is involved, then consideration of the motion is generally proper.”) (citation

omitted).

         Mr. Ferrer contends that § 922(g)(1) is unconstitutional on its face and as applied to him.

Litigants are permitted to raise both “as applied” and “facial” challenges, but the “lawfulness of

the particular application of the law should ordinarily be decided first.” Roy v. City of Monroe, 950

F.3d 245, 251 (5th Cir. 2020) (citation omitted). “Once a case is brought,” however, “no general

categorical line bars a court from making broader pronouncements of invalidity in properly ‘as-

applied’ cases.” Citizens United v. Federal Election Comm’n, 558 U.S. 310, 331 (2010) (citation

omitted).




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          “As applied” challenges require the court to determine whether the law or act may

constitutionally be applied to some and be applied unconstitutionally to others. Broadrick v.

Oklahoma, 413 U.S. 601, 610 (1973). In a facial challenge, a defendant must “establish that no set

of circumstances exists under which the Act would be valid.” United States v. Rahimi, 602 U.S.

680, 693 (2024) (citing United States v. Salerno, 481 U.S. 739, 745 (1987)). This challenge is the

most difficult to mount successfully. Id. To prevail, the Government must establish that the

challenged law “imposes a comparable burden on the right of armed self-defense” to that imposed

by a historically recognized regulation. Bruen, 597 U.S. at 3.

   III.      Analysis

          Section 922(g)(1) provides:

                  It shall be unlawful for any person who has been convicted in any court of a
          crime punishable by imprisonment for a term exceeding one year . . . to ship or
          transport in interstate or foreign commerce, or possess in or affecting commerce,
          any firearm or ammunition; or to receive any firearm or ammunition [that] has been
          shipped or transported in interstate or foreign commerce.

The Second Amendment provides: “A well-regulated Militia, being necessary to the security of a

free State, the right of the people to keep and bear arms, shall not be infringed.” U.S. Const.

amend. II. The Supreme Court held that the Second Amendment protected an individual’s right to

keep and bear arms and that a Washington D.C. law that prohibited possession of handguns in the

home was unconstitutional. District of Columbia v. Heller, 554 U.S. 570 (2008). The Court relied

on the text and meaning of the words in the Second Amendment based on history. Id. at 593. The

Court did not call into question prohibitions against persons who are felons or “mentally

deficient.” Id. at 626. Two years following Heller, the Court struck down city ordinances that

banned handguns and held that the Second Amendment applied to states and was incorporated by

the Fourteenth Amendment. McDonald v. City of Chicago, Illinois, 561 U.S. 742 (2010).



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       In June 2022, the Supreme Court struck down New York’s concealed carry licensing law

because it was an unconstitutional infringement on Second Amendment guarantees. New York

State Rifle & Pistol Ass’n Inc. v. Bruen, 597 U.S. 1 (2022). The Court created a new framework in

Bruen. Under this framework, the first step requires courts to look at the text. Id. at 24. Second,

the court must determine whether the Government has met its burden of “justifying that the

regulation is consistent with the Nation’s historical tradition of firearm regulation.” Id. It is only

after both prongs are satisfied that a court may conclude that an “individual’s conduct falls outside

the Second Amendment’s ‘unqualified command.’” Id.

       Applying the framework to the New York law, the Court held that the plain text of the

Second Amendment protects carrying handguns publicly for self-defense. Id. at 32. For the second

prong, the Court held that the State of New York had not met its burden to show that the law was

consistent with the Nation’s history. Id. In support of the historical analysis, New York submitted

a “variety of historical sources,” which the Court categorized in periods categorized as “(1)

medieval to early modern England; (2) the American Colonies and the early Republic; (3)

antebellum America; (4) Reconstruction; and (5) the late-19th and early-20th centuries.” Id. at 34.

The Court held that this was necessary because “not all history is created equal.” Id. After

reviewing these “periods,” the Court was not convinced that there was a tradition of broadly

prohibiting the use of handguns in public.

       After applying the new test created by the Court, a panel of the Fifth Circuit initially held

that 18 U.S.C. § 922(g)(8) violated the Second Amendment to the Constitution. United States v.

Rahimi, 61 F.4th 443, 451 (5th Cir. 2023), rev’d, 602 U.S. 680 (2024). The panel held that the

historical analogues were not relevantly “similar to” § 922(g)(8). Id. at 456. The Court reversed

the Fifth Circuit and held that the Government had met its burden by showing historical evidence



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in which Government regulations barred people from misusing weapons to “harm or menace”

others. Rahimi, 602 U.S. at 701. The Court further held that history, traditions, and “common

sense” supported disarming threatening individuals. Id. at 698. The Court concluded that 922(g)(8)

fit within the well-established tradition of this Nation. Id. at 690.

    IV.      Application to Mr. Ferrer

    A. Section 922(g)(1) Is Constitutional as Applied.

          Mr. Ferrer argues that § 922(g)(1)’s possession prong is unconstitutional under the Second

Amendment. He contends that although the Fifth Circuit in Diaz rejected a facial challenge to §

922(g)(1), he raises the claim to preserve the issue for appellate review. Def.’s Mot. 7. (citing

United States v. Diaz, 116 F.4th 458, 467 (5th Cir. 2024)).

          Defendant contends that the Government cannot meet its burden of showing that his

convictions would have been subject to the punishments the Fifth Circuit identified in Diaz

because his only felony conviction is from March 2012, which was for conspiracy to possess with

the intent to distribute a controlled substance. Id. at 7. Defendant contends that this offense was

not criminal in the founding era and that there is no historical analogue. Id. Moreover, Defendant

argues that until “roughly 100 years ago, ‘there was virtually no effective regulation of narcotics in

the United States.’” Id. (citing David T. Courtright, A Century of American Narcotics Policy, in

Treating Drug Problems at 1 (1992)). Mr. Ferrer contends that despite the Founders’ knowledge

of alcohol and drug addiction, the federal government did not begin criminalizing non-medical

drug use until the early twentieth century. Id. at 8. He argues that it was not until 1914 that

lawmakers criminalized the possession or distribution of opium, and even after the passage of this

law, violators were subject to a maximum fine of $2,000 and a maximum five-year sentence. Id.




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(citing Pub. L. 63-223, 38 Stat. 785, 786, 788-89 (repealed 1970)). The court disagrees with Mr.

Ferrer.

          The Government argues that Mr. Ferrer’s argument fails because this Nation has a history

of disarming “(1) those convicted of possessing and trafficking in contraband, (2) dangerous

people, and (3) those, like Ferrer, who were serving a criminal sentence.” Gov.’s Resp. 2. First, the

Government contends that the Court explained in Bruen that “if the ‘plain text’ of the Second

Amendment ‘covers an individual’s conduct,’ the government’s regulation of that conduct must be

‘consistent with this Nation’s historical tradition of firearm regulation.’” Id. (quoting Bruen, 597

U.S. at 17). The Government argues that the Court in Rahimi made it clear that courts that analyze

the historical record must apply a principles-based approach. Id. at 3 (citing Rahimi, 604 U.S. at

961).

          Further, the Government argues that Defendant’s challenge fails in light of three principles

drawn from the regulatory tradition that support § 922(g)(1)’s constitutionality. Id. at 6. It

contends that, as the Fifth Circuit recognized in Diaz, the legislature may disarm those who

commit serious crimes. Id. Further, the Government argues that legislatures may disarm those who

are dangerous, and third, legislatures may disarm those who are on supervised release from a

federal conviction. Id. It contends that disarming Defendant is consistent with this Nation’s history

of severely punishing those convicted of trafficking in contraband. Id.

          The Government further contends that, for example, during the founding era, the knowing

receipt of a stolen horse was punishable by death. Id. at 7 (citing 6 William Waller Hening, The

Statutes at Large; Being a Collection of All the Laws of Virginia from the First Session of the

Legislature, in the Year 1619, page 130 (1819) (1748 law) (punishing knowing receipt of stolen

horse with death)). Further, it contends that state and federal legislatures punished counterfeiting



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and forgery of public securities with death or estate forfeiture. Id. (citing An Act for the

Punishment of Certain Crimes Against the United States, 1 Stat. 112, 112-15 (1790) (making it a

felony to forge or counterfeit a public security); 2 Laws of the State of New York Passed at the

Sessions of the Legislature (1785-1788) at 664-65 (1886) (1788 law) (punishing counterfeiting

with death); 2 Laws of the State of New York Passed at the Sessions of the Legislature (1785-

1788) at 260-61 (1886) (1786 law) (punishing counterfeiting bills of credit with estate forfeiture);

9 William Waller Hening, Statutes at Large; Being a Collection of All the Laws of Virginia, from

the First Session of the Legislature 302 (1821) (1777 law) (imposing estate forfeiture on anyone

convicted of forging, counterfeiting, or knowingly presenting for payment a wide range of forged

documents)).

       The Government argues that these laws establish a tradition of severely punishing people

convicted of crimes involving the creation, possession, or distribution of illicit goods. Because of

this, the Government contends that punishing Defendant with disarmament for trafficking in illicit

goods fits within this tradition. Id. at 7-8. Moreover, the Government argues that several district

courts in this circuit have adopted its analogy “between serious convictions for possessing drugs

and Founding-era convictions for possessing and trafficking in other types of contraband.” Id. at 8

(citing United States v. Landrum, No. 3:24-CR-63-DPJ-LGI, 2024 WL 4806486, at *1 (S.D. Miss.

Nov. 15, 2024); see also United States v. Garner, Criminal Action No. 5:24-112, 2024 WL

4820794, at *3 (W.D. La. Nov. 18, 2024) (concluding that the defendant’s prior felony conviction

for marijuana supported his disarmament); and United States v. Robinson, Criminal Action No.

22-253, 2024 WL 4827375, at *7 (E.D. La. Nov. 19, 2024)).

       Additionally, the Government contends that disarming Mr. Ferrer is consistent with its

“ability to disarm dangerous felons.” Id. at 9. The Government argues that Defendant is a



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dangerous person because his previous conviction resulted from his entering a warehouse and

robbing two individuals at gunpoint. Id. (quoting Ferrer, No. 4:11-CR-096-7, Doc. No. 459 at 3

(quotation marks omitted)). The Government argues that robbery and drug-trafficking crimes pose

a significant threat of danger to the general public. Id. (citing United States v. Williams, 113 F.4th

637, 659 (6th Cir. 2024); Folajtar v. Att’y Gen., 980 F.3d 897, 922 (3d Cir. 2020); United States v.

Barton, 633 F.3d 168, 174 (3d Cir. 2011); United States v. Garcia, 797 F.3d 320, 321 (5th Cir.

2015)). Further, it contends that “[d]rug traffickers are apt to use firearms ‘to protect drug

stockpiles, to preempt encroachment into a dealer’s ‘territory’ by rival dealers, and for

retaliation.’” Id. at 10 (quoting United States v. Luciano, 329 F.3d 1, 6 (1st Cir. 2003); and Smith

v. United States, 508 U.S. 223, 240 (1993) (“[D]rugs and guns are a dangerous combination.”));

see also United States v. Martinez, 808 F.2d 1050, 1057 (5th Cir. 1987) (“[F]irearms are ‘tools of

the trade’ of those engaged in illegal drug activities.”); United States v. Cooper, 979 F.3d 1084,

1090 (5th Cir. 2020) (citation and quotation marks omitted). As a result of Defendant’s history,

the Government contends that it may lawfully disarm him. Id.

       Finally, the Government argues that Defendant’s as-applied challenge fails because “‘the

government may disarm those who continue to serve sentences for felony convictions.’” Id.

(quoting United States v. Giglio, 126 F.4th 1039, 1044 (5th Cir. 2025)). Because Defendant was

on federal supervised release, the Government argues it can lawfully disarm him while he was

subject to his ongoing criminal sentence. Id. at 10-11 (quoting Giglio, 126 F.4th at 104) (quotation

marks omitted).

       Applying the Bruen two-step framework, the court must examine the plain text of the

statute, which the Court and Fifth Circuit have held that the Second Amendment covers the

conduct prohibited by § 922(g)(1). Diaz, 116 F.4th at 467 (citation omitted). Next, the court must



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determine whether the Government has met its burden of demonstrating that § 922(g)(1), as

applied to Mr. Ferrer, has a historical analogue. Bruen, 597 U.S. at 30. The evidence need not be a

“historical twin.” It does, however, need to be “relevantly similar” to the challenged law. Id. The

Government contends that historical laws support disarming three types of individuals: “(1) those

convicted of possessing and trafficking in contraband, (2) dangerous people, and (3) those, like

Ferrer, who were serving a criminal sentence.” Gov.’s Resp. 2.

       Because modern circumstances differ from history, the court must balance the two and

determine not only whether the history is similar but also must determine why and how the

prohibition burdens the Second Amendment right. Rahimi, 602 U.S. at 698. As the Government

correctly explains, the “why” of these laws was to protect society, punish offenders, and deter

repeat offenders. See Gov.’s Resp. 8. The precursor to § 922(g)(1) was the 1968 Gun Control Act,

which was enacted to “bar possession of a firearm from persons whose prior behaviors have

established their violent tendencies.” 114 Cong. Rec. 14773 (daily ed. May 23, 1968) (statement

of Sen. Russell Long of Louisiana). Similarly, the justification for § 922(g)(1) is to deter violent

individuals from possessing a firearm and ensure law and order. The “how” or the vehicle in

which the lawmakers achieved their historical objectives was by permanently punishing offenders.

As the Government shows, individuals who were convicted of crimes involving the creation,

possession, or distribution of illicit goods could be punished by death or forfeit their property.

Gov.’s Resp. 7. Disarmament of felons, as used in § 922(g)(1), is a much lower punishment than

death. Permanent disarmament under § 922(g)(1) does not punish individuals “to an extent beyond

what was done at the founding.” Rahimi, 602 U.S. at 692. These historical analogues support the

permanent disarmament of Mr. Ferrer.




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       “For the purposes of assessing [Mr. Ferrer’s] predicate offenses under § 922(g)(1), [the

court] may consider prior convictions that are ‘punishable by imprisonment for a term exceeding

one year.’” Diaz, 116 F.4th at 467 (citing § 922(g)(1)). While Defendant has only one conviction

for which he was imprisoned for more than one year, the court looks at his history as a whole to

determine whether he is a threat to the greater public. Mr. Ferrer has a lengthy history of

endangering the public. See United States v. Ferrer, No. 3:24-CR-171-L, Doc. 958-1 at 35. In

2004, he received 12 months deferred adjudication for “Unlawfully Carrying a Weapon,” a class A

misdemeanor. Id. Officers in the Dallas Police Department stopped Defendant’s car because it

matched the description of an automobile in which an individual was firing a firearm randomly in

the air. Id. In 2006, Mr. Ferrer was convicted of “Assault,” a class A misdemeanor. Id. at 36.

Defendant was initially charged with “Aggravated Assault with a Deadly Weapon,” but he pleaded

guilty to the lower assault charge. Id. Mr. Ferrer’s history demonstrates his violent past. The court

is convinced that Mr. Ferrer’s record demonstrates that he represents a “credible threat to the

physical safety of another,” and § 922(g)(1) is not unconstitutional as applied to him. Rahimi, 602

U.S. at 693.

   B. Section 922(g)(1) Is Constitutional on Its Face.

       Second, to “preserve the foreclosed claim for further review,” Defendant argues that §

922(g)(1) is not facially constitutional. Def.’s Mot. 8. He argues that § 922(g)(1) is “inconsistent

with the Founding Era approach to the effect of criminal convictions upon an ex-offender’s

rights.” Id. at 9. Defendant contends that there is no historical evidence to show that the

Government could constitutionally disarm an ex-offender on the basis of his or her prior

conviction. Id. Further, Mr. Ferrer argues that § 922(g)(1) prohibits him, as a member of “the

people,” which the Second Amendment protects, from possessing a firearm. Id. at 10. Further, he



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argues that since § 922(g)(1) “facially prohibits” conduct that the Second Amendment is intended

to protect, § 922(g)(1) is facially unconstitutional. Id. Defendant contends that no application of §

922(g)(1) can comply with the Second Amendment because there is no historical analogue. Id. at

11. Finally, Defendant argues that while the Fifth Circuit has rejected this claim, he persists here

to preserve the claim for review by the Fifth Circuit en banc or the Supreme Court. Id.

       To prevail, “the Government need only demonstrate that [§ 922(g)(1)] is constitutional in

some of its applications.” Rahimi, 602 U.S. at 693. The Fifth Circuit has foreclosed facial

challenges to § 922(g)(1) constitutional challenges. See Diaz, 116 F.4th at 467. Additionally,

Defendant fails to show that “no set of circumstances” exists in which this law can be applied

without violating the Second Amendment. Bucklew v. Precythe, 587 U.S. 119 (2019). The

Government need not justify its reasoning with historical analysis because, as explained earlier,

the statute is constitutional as applied to Mr. Ferrer.

   C. This Court Is Bound by Circuit Precedent.

       Even if the court were inclined to deviate from precedent, which it does not do, Bruen has

done little to change the outcome of a § 922(g)(1) claim. Nothing in the Court’s recent cases has

unequivocally overruled its decision in Heller, which permits restrictions on firearm use for felons

or mentally deficient persons. See United States v. Petras, 879 F.3d 155, 164 (5th Cir. 2018) (the

Fifth Circuit held that the Court’s decision “must unequivocally overrule prior precedent . . . .”).

       Further, Mr. Ferrer’s challenge is foreclosed by the Fifth Circuit precedent. In Diaz, for the

first time since Bruen, the Fifth Circuit applied the historical inquiry as required by Bruen in

analyzing the constitutionality of § 922(g)(1). Diaz, 116 F.4th at 467. The panel presented the

dispositive question of whether “the Nation has a longstanding tradition of disarming someone

with a criminal history analogous to” Diaz. Id. It held that §922(g)(1) is constitutional as applied



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when the punishment for the crime in question has a historical analogue. Id. The panel held that

permanently disarming Diaz fit within the tradition of regulating firearms. Id. at 472. Similarly,

Mr. Ferrer’s applied challenge fails because, as stated earlier, permanent disarmament for the

crimes he committed is supported by historical analogues, and thus, his challenge is foreclosed.

For the reasons stated, Mr. Ferrer’s arguments fail because this court is bound by precedent.

   D. Defendant’s Commerce Clause Challenge Is Foreclosed.

        Mr. Ferrer’s Commerce Clause arguments are foreclosed (Doc. 22). The Fifth Circuit has

consistently rejected Commerce Clause arguments. See, e.g., United States v. Alcantar, 733 F.3d

143, 145 (5th Cir. 2013); United States v. Nichols, 2022 WL 5401942, at *1 (5th Cir. Oct. 6, 2022)

(per curiam), cert. denied, 143 S. Ct. 827 (2023).

        Mr. Ferrer’s argument fails, and his Motion is therefore denied.

   V.      Conclusion

        Because the text and history support the disarmament of felons, the court concludes that

18 U.S.C. § 922(g)(1) is constitutional both as applied to Mr. Ferrer and on its face. Further, the

court concludes that Mr. Ferrer’s Commerce Clause challenge is foreclosed by precedent.

Accordingly, the court denies Defendant’s Motion (Doc. 22), and it will proceed with the

disposition of Count One by way of a plea or trial.

        It is so ordered this 4th day of June, 2025.


                                                       _________________________________
                                                       Sam A. Lindsay
                                                       United States District Judge




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